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IN THE UNITED sTATEs DISTRICT CoURT 034/cp \ \ 0
FoR THE WEsTERN DISTRICT oF TEI\H\IESS]~:]~:,<,Cj <°<9 ,% 5

EASTERN DIVIsIoN 555/535 0 /3 33
MARKUS LAMONTE WILLOUGHBY, ) 'SO/§/ '
Petitioner, l
Vs. l No. 1-04-1090-T-An
RICKY BELL, §
Respondent. l

 

ORDER DENYING PETITIONER’S MOTION FOR AN EXTENSION OF TIME

 

Petitioner Markus Lamonte Willoughby, Tennessee Department of Correction
(“TDOC”) prisoner number 275480, Who is currently an inmate at the West Tennessee State
Penitentiary in Henning, Tennessee, submitted a petition pursuant to 28 U.S.C. § 2254.l
Petitioner was convicted of first degree felony-murder, aggravated burglary, conspiracy to
commit aggravated burglary, and theft of property over $500.00. He is currently serving
sentences of life imprisonment for the felony-murder conviction, twelve years for
aggravated burglary, four years for conspiracy, and two years for theft.

On March 22, 2005, this court ordered Respondent to submit, within 30 (thirty) days,
a supplemental memorandum on issues related to Petitioner’s unexhausted elaims. Petitioner

was given 30 (thirty) days, or until May 22, 2005, to respond to Respondent’s supplemental

 

' The petition was submitted to the United States District Court for the Middle District of
Tennessee on March 8, 2004. On April 29, 2004, it was transferred to the Western District.

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with none ss and.'or]s (a) FacP on 5 g g

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memorandum Aocordingly, Petitioner’s motion for an extension of time is DENIED.

IT IS SO ORDERED.

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JAM D. TODD
D STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 1:04-CV-01090 was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

ENNESSEE

 

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275480

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Honorable J ames Todd
US DISTRICT COURT

